 Case 2:18-cv-00523-JRG Document 11 Filed 02/18/19 Page 1 of 1 PageID #: 66



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

INVENTERGY LBS, LLC,                                §
                                                    §
                                                    §
                Plaintiff,                          §
                                                    §
v.                                                  §   CIVIL ACTION NO. 2:18-CV-00523-JRG
                                                    §
OPTIMUS GPS TRACKING CORP,                          §
                                                    §
                Defendant.                          §


                                            ORDER

       Before the Court is Plaintiff Inventergy LBS, LLC and Defendant Optimus GPS Tracking

Corp.’s Rule 29(b) Stipulation to Extend Time to Respond to Motion to Dismiss (the

“Stipulation”). (Dkt. No. 10.) Pursuant to Federal Rule of Civil Procedure 29(b), the parties agree

that Plaintiff’s deadline to respond to Defendant’s Motion to Dismiss Pursuant to Rule 12(b)(6) is

extended twenty (20) days from February 14, 2019.

       Having considered the Stipulation, the Court hereby ORDERS that Plaintiff Inventergy

LBS, LLC shall be permitted to file a response to Defendant Optimus GPS Tracking Corp.’s

Motion to Dismiss Pursuant to Rule 12(b)(6) on or before twenty (20) days from the date of the

issuance of this Order.

       So Ordered this
       Feb 18, 2019




                                                1
